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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE



United States of America

             v.                                  Case No. 07-cr-130-01-04-SM

Corey Donovan, Micah Donovan
Ian Burns, and Jay Lawrence


                                       ORDER



       Defendant Ian Burn's assented-to motion to continue the trial (document no. 45)

is granted. Trial has been rescheduled for the January 2008 trial period. Defendant

Burns shall file a Waiver of Speedy Trial Rights not later than October 2, 2007. On the

filing of the waivers, his continuance shall be effective.

       The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary for effective preparation taking into account
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the exercise of due diligence under the circumstances.

      Final Pretrial Conference: December 17, 2007 at 9:30 AM

      Jury Selection:            January 8, 2008 at 9:30 AM

      SO ORDERED.



September 26, 2007                     _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Terry Ollila, Esq.
    Liam D. Scully, Esq.
    Mark Sisti, Esq.
    Paul Garrity, Esq.
    Sven Wiberg, Esq.
    U. S. Probation
    U. S. Marshal




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